THE WEITZ LAW FIRM, P.A.
                                                                             Bank of America Building
                                                                        18305 Biscayne Blvd., Suite 214
                                                                               Aventura, Florida 33160
                                   Application GRANTED. The conference scheduled for
November 30, 2022                  December 7, 2022, is ADJOURNED to January 11, 2023, at
                                   4:10 p.m. The conference will be telephonic and will take place
VIA CM/ECF
                                   on the following line: 888-363-4749; access code 558-3333.
Honorable Judge Lorna G. Schofield
                                   The Order issued November 17, 2022, directed Plaintiff to serve
United States District Court
                                   Defendants via FedEx and file proof of service. Plaintiff has not
Southern District of New York
40 Foley Square - Courtroom 1106 done so. Plaintiff shall serve Defendants via FedEx and file
New York, NY 10007                 proof of service by December 7, 2022. So Ordered.

       Re:     Velasquez v. 1517 New Bani Grocery, Inc., d/b/a New Bani Grocery, et al.
               Case 1:22-cv-07115-LGS Dated: December 1, 2022
                                                    New York, New York
Dear Judge Schofield:

        The undersigned represents the Plaintiff in the above-captioned case matter. It is ordered that
if Plaintiff cannot contact Defendants by November 30, 2022, Plaintiff shall file a status letter (1)
requesting further adjournment of the initial conference for up to thirty (30) days and (2) proposing a
date prior to the conference to present an Order to Show Cause for default judgment as to Defendant.

       The Initial Pretrial Conference in this matter is currently scheduled for December 7, 2022, at
4:10 p.m., in your Honor's Courtroom. However, Defendants have not yet appeared in this matter in
this matter, though contact has been made to the Defendants. As such, in order to afford additional
time for the Defendants to formally appear and engage in productive subsequent settlement
discussions, the undersigned hereby respectfully requests a 30-day adjournment of next week’s
Conference, commencing from December 7th to a date most convenient to this Honorable Court.

        As to the date to present an Order to Show Cause for default judgment as to Defendant, the
Plaintiff proposes 45 days from the next scheduled Initial Pretrial Conference or mid-February 2023.

        Thank you for your consideration of this matter and the second adjournment request.

                                              Sincerely,

                                              By: /S/ B. Bradley Weitz           .
                                                 B. Bradley Weitz, Esq. (BW9365)
                                                 THE WEITZ LAW FIRM, P.A.
                                                 Attorney for Plaintiff
                                                 Bank of America Building
                                                 18305 Biscayne Blvd., Suite 214
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